      Case
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 5
                                UNITED STATES DISTRICT COURT
 6
                                       DISTRICT OF NEVADA
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                                                   ***
 8
      UNITED STATES OF AMERICA,                          )
 9                                                       )   2:15-cr-00064-2-APG-CWH
                                   Plaintiff,            )
10                                                       )
      v.                                                 )   [PROPOSED] ORDER GRANTING
11                                                       )   MOTION FOR BILL OF
      JIMMY MATUTE,                                      )   PARTICULARS AS TO
12                                                       )   DEFENDANT JIMMY MATUTE
                                   Defendant.            )
13                                                       )
                                                         )
14
            Mr. Matute has been charged in a twenty-one count indictment, with charges of
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     conspiracy to commit wire fraud and wire fraud pursuant to 18 U.S.C. § 1343 and 1349, as well
16
17   as aiding and abetting pursuant to 18 U.S.C. § 2. On April 20, 2017, Mr. Matute, by and through

18   his attorney, filed a motion for bill of particulars with respect to the counts against him. The
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     motion was referred to the United States Magistrate Judge for a determination.
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            Pursuant to LCR 12-1(a)(2), responses to pretrial motions and notices must be filed and
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     served within 14 days from the date of service of the motion if a party opposes the motion. The
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23   government has failed to respond to Mr. Matute’s motion for a bill of particulars and the time

24   for response has expired. In the absence of any response by the government it is assumed that
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     the government has no opposition to the motion and any objections it might have had to the
26
     motion are waived through said non-response.
      Case
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 1          Accordingly, Mr. Matute’s motion for a bill of particulars of the indictment is granted.
 2   The government shall have fourteen (14) days after the date of entry of this order to provide a
 3
     bill of particulars as to the specific acts that Mr. Matute is alleged to have committed that
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     support the government’s charges, including, but not limited to: (1) each alleged role and/or
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 6   asserted facts as to what each co-defendant affirmatively did and/or directed, (2) where/what

 7   account the monies transferred from and to in counts two through ten, (3) the defendant party/ies
 8   on the telephone calls in counts eleven through twenty, and (4) Mr. Matute’s alleged role and/or
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     membership and/or the allegations as to Mr. Matute’s involvement of aiding/abetting any others
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     charged in the case. See, e.g. Ninth Cir. Jury Inst. 5.1, 8.20 (March 2017).
11
                                   30th day of May, 2017.
            IT IS SO ORDERED this _____
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                                                     ______________________
15                                                   CARL W. HOFFMAN
                                                     UNITED STATES MAGISTRATE JUDGE
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